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    7                            UNITED STATES DISTRICT COURT
    8                           CENTRAL DISTRICT OF CALIFORNIA
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   11    SUSAN LIVSHIN,                           ) CASE NO. 2:12-CV-09910-ODW-MAN
                                                  )
   12                          Plaintiff,         )
                                                  ) ORDER OF DISMISSAL
   13              vs.                            )
                                                  )
   14    MRS BPO, LLC                             )
                                                  )
   15                          Defendant.         )
                                                  )
   16                                             )
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   21            Having considered the parties' Stipulation of Dismissal, the above-entitled action
   22   is hereby dismissed with prejudice. Each party shall bear its own costs and expenses.
   23            IT IS SO ORDERED.
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        DATED: March 22, 2013
   26                                                     _______________________________
                                                          UNITED STATES DISTRICT JUDGE
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                                                                          [PROPOSED] ORDER OF DISMISSAL
        07322.00/192897                                                   CASE NO. 2:12-CV-09910-ODW-MAN
